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MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
SENTENCE BY A PERSON IN FEDERAL CUSTODY
United States District Court District Westem District Of NSW York
Name muller which you were wmvicte[l): Docket or Case No.:
!V|oham@d Taher 09CR1353
Place of Confinement: Prisoner No.:
FC| For‘t Dix 11646~055
UNITED STATES OF AMERICA Movant @ll“c,;»_iQ name under which you were cnnvict@d)
v. Mohamed Taher
MOTION

(a) Name and location of court that entered the judgment of conviction you are challenging

United Stetes District Couu, Western District of New York, Wi||iam |\/1. Skretny, J.

(b) Crirninal docket or case number (if you knoW): 09CR1358
(a) Date of the judgment of conviction (if you know): 7,"11/2013

(b) Date of eentencing: 4/4/2014

 

Length of Sentencei 300 mOn'LhS

 

4. Nature of crime (all counte):

Continuing criminal enterprise, Fa|se etatements, Aggravated identity theft

(a) What Was your plea? (Check one)
(1) Not guilty D/ (2) Guilty ll (3) Nolo contendere (no contest) ll
(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count

or indictment, what did you plead guilty to and what did you plead not guilty to?

lf you Went to trial, What kind of trial did you have? (Checl< one) Jury [§|/ Judge only El

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7. Did you testify at a pretrial hearing, trial, or post»trial hearing? Yee l:l No g
8. Did you appeal from the judgment of conviction‘? Yes U No l:|
9. lf you did appeal, answer the following

(a) Name Of Court: Seconc| Circuif Court of Appeafs

(b) Docket or case number (if you know):

(c) Result: Affirmed

(d) Date of result (if you know): 9/28/2016

(€) CitatiOH to the CHS€ (if yO\l kHOW)! Unifed States \r. Taher, 663 Fed. Appx. 28

(f`) Grounds raised:

See memorandum of law for detailed expianation. The memorandum of law is incorporated by
reference herewith as if set forth at length hereaf.

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes V No C]
If “Yes,” answer the following:
(1) Docket or case number (if you know):
(2) Reeult:
Certiorari denied
(3) Date of result (if you know): 2/21/2017
(4) Citation to the case (if you know): Taher V. Ur¥lled States, 2017 U.S. l_eX`ls 1061
(5) Grounds raised:

See memorandum of law for details

10. Other than the direct appeals listed above, have you previously filed any other motions,
petitions, or applications concerning this judgment of conviction in any court?
Yes ill No q
11. lf your answer to Question 10 Was “Yes,” give the following information:
(a) (1) Name of court: Disfrict Court
(2) Docket or case number (if you know): 09CR1353
(3) Date of filing (if you know):

 

 

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(4) Nature of the proceeding motion forjudgment of acquittal under F{uie 29

(5) Grounds raised:

l\/lotion to vacate sentences for lesser included conspiracies under Flut|edge. See
memorandum of law for details

 

(6) Did you receive a hearing Where evidence Was given on your motion, petition, or
application? Yes Cl No d
(7) ReSlllt! Granted
(B) Date of result (if you know): 3,"30,"2014

(b) lf you filed any second motion, petition, or`application, give the same information:
(1) Name of court:

(2) Docket or case number (if you know):

 

(3) Date of filing (if you know):
(4) Nature of the proceeding:

(5) Grounds raised:

 

 

(6) Did you receive a hearing Where evidence Was given on your motion, petition, or

application? Yes D No ill

 

(7) Result:

(S) Date of result (if you know):
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your
motion, petition, or application?

(1) First petition: Yes U No Cl

 

(2) Second petition: Yes |:l l\lo U

 

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(d) If you did not appeal from the action on any motion, petition, or application, explain briefly

Why you did not:

 

12. For this motion, state every ground on Which you claim that you are being held in violation of the
Constitution, laws or treaties of the United States. Attach additional pages if you have more

than four grounds State the facts supporting each ground.

 

GROUND ONE:
The conviction was obtained and sentence imposed in violation of the right to effective assistance of

(a) Supporting facts (Do not argue or cite laW. Just state the specific facts that support your claim.):
counsel See memorandum of law for details The memorandum of law is incorporated by reference
herewith as if set forth at iength hereat. Suppression hearing counsel's performance was deficient for
making a concession that the stop of Petitioner's car was legal When it Was not. At minimum, the
decision to concede the issue was not in Petitioner‘s interest and it deprived Petitioner of the right to
appeal the issue assuming the district court found the stop to be |egal. Trial counsel was ineffective
for failing to object to the CCE instructions He failed to make the right objections for the right
reasons For instance, he failed to object to the failure of the indictment to identify with specificity the
predicate acts that comprised the "series of feiony violations." The two conspiracies could not be
counted as a "series of violations" because they occurred at the same time. The telephone violations
could not be considered because there were no facts that the phones were used to facilitate the
marijuana offenses The faiEure of the indictment to identify the predicate acts violated Jones/Alleyne_
One of the jurors slept during the trial. The failure to call the district court's attention to the sleeping
juror denied a fair trial.

(b) Direct Appeal of Ground One:
(1) if you appealed from the judgment of conviction, did you raise this issue?
Yes U No d

(2) If you did not raise this issue in your direct appeal, explain Why:

ineffective assistance of counsel

(c) Post»Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes f:| No Cl
(2) lf your answer to Question (c)(l) is “Yes,” state:
Type of motion or petition:

Name and location of the court Where the motion or petition Was filed:

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Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes 13 No \:l

(4) Did you appeal from the denial of your motion, petition, or application?
Yes C| No Cl

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes ill No Cl

(6) If your answer to Question (c)(4) is “Yes,” state:

Narne and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

GROUND TWO:
The district court‘s instructions constructively amended the indictment and helped the government

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

convict Petitioner of the CCE and the conspiraciesl The indictment charged two conspiracies involving
more than 100 kilograms of marijuana Drug quantity is an element of the offense Yet, the district
court instructed the jury that the government did not have to prove the 100 kilogram element with
respect to either the conspiracy to import or the conspiracy to possess with intent to distribute The
instructions constructively amended the indictment and helped the government convict Petitioner.

The Petitioner does not have to show prejudice but the jury's answers to interrogatories prove the
prejudice The jury found that neither conspiracy involved 100 kifograms of marijuana which means the
government did not prove either of the charged conspiracies alleged in the indictmentl |n addition, the
district court's instructions did not require specific findings of fact regarding the predicate acts or
identification of the people organized or managed The instructions made it substantially easier for the
government to convict Petitioner. As such the instructions amended the indictment to conform to the
proof at trial. The instructions also violated Alleyne which requires the government to prove each and
every efement of a criminal offense beyond a reasonabie doubt where the facts involved trigger a
mandatory minimum penalty. i-lerel the CCE carries mandatory minimum of twenty (20) years
Therefore, the instructions should have required the jury to identify the series of predicate acts with
specificity, and the persons managed with specificity The memorandum of law is incorporated by
reference herewith as if set forth hereat.

 

 

 

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(b) Direct Appeal of Ground TWo:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes ll No d

(2) lf you did not raise this issue in your direct appeal, explain why:

 

ineffective assistance of counsel

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes Cl No []
(2) lf your answer to Question (c)(l) is “Yes,” state:
Type of motion or petition:

Name and location of the court Where the motion or petition was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes El No Cl

(4) Did you appeal from the denial of your motion, petition, or application?

Yes Cl No C]
(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes C! No Cl

(6) If your answer to Question (c)(4) is ‘”Yes,” state:

Name and location of the court where the appeal Was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

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(7) If your answer to Question (c)(4) or Question (c)(5) is "No,” explain why you did not appeal or

raise this issue:

GROUND THREE:

(a) Supporting facts (Do not argue or cite law. dust state the specific facts that support your claim.):

(b) Direct Appeal of Grouncl Three:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes Ci No El

(2) lf you did not raise this issue in your direct appeal, explain why:

(c) Post-Conviction Proceedings:
(l) Did you raise this issue in any post-conviction motion, petition, or application‘?
Yes Cl No Cl
(2) If your answer to Question (c)(l) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docl§et or case number (if you know):

Date of the court’s decision:

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Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?

Yes l:l No E]

(4) Did you appeal from the denial of your motion, petition, or application?
Yes D No Cl

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal'?
Yes E| No l;t

(Ei) lf your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:
Docket or case number (if you lrnow):

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

GROUND FOUR:

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim,):

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(b) Direct Appeal of Ground Four:
(1) lfyou appealed from the judgment of conviction, did you raise this issue?
Yes Cl No Cl

(2) lf you did not raise this issue in your direct appeal, explain why:

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [] No Cl
(2) If your answer to Question (c)(l) is "Yes,” state:
Type of motion or petition:

Narne and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?

Yes ll No Cl

(4) Did you appeal from the denial of your motion, petition, or application?
Yes Cl No [J

(5) lf your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes El No Cl

(6) lf your answer to Question (c)(4) is “Yes,” state:

Name and iocation of the court where the appeal was filled:

Docket or case number (if you know)'.
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

13.

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(7) lf your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

ls there any ground in this motion that you have mg previously presented in some federal court?
If so7 which ground or grounds have not been presented, and state your reasons for not

presenting them:

ineffective assistance of counsel

14. Do you have any motion, petition, or appeal now pending (Eiled and not decided yet) in any court

15.

for the judgment you are challenging? Yes E] No D
lf “Yes,” state the name and location of the court, the docket or case number, the type of

proceeding and the issues raised.

Give the name and address, if known, of each attorney who represented you in the following
stages of the judgment you are challenging:

(a) At preliminary hearing:

(b) At arraignment and plea:

(c) At trial:
Hodney Personius, Esq.
(d) At sentencing:

Ftodney Personius, Esq.

16.

17.

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(e) On appeal:
Fianda D. l\/faher, Esq.

(f) In any post-conviction proceeding:

(g) On appeal from any ruling against you in a post-conviction proceeding:

Were you sentenced on more than one count of an indictment, or on more than one indictment, in
the same court and at the same time? Yes M No Cl

Do you have any future sentence to serve after you complete the sentence for the judgment that
you are challenging? Yes ll No M

(a) lf so, give name and location of court that imposed the other sentence you will serve in the

future:

(b) Give the date the other sentence was imposed:
(c) Give the length of the other sentence:
(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the

judgment or sentence to be served in the future? Yes E;l No Cl

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18, TIMELINESS OF MOTION: lf your judgment of conviction became final over one year ago, you
must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not

bar your motion.*

The motion is timely if filed before 2/21/18

 

”‘ The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C.
§ 2255, paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section The limitation period
shall run from the latest of --
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in
violation of the Constitution or laws of the United States is removed, if the movant was
prevented from making such a motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if
that right has been newly recognized by the Supreme Court and made retroactively
applicable to cases on collateral review,' or
(4) the date on which the facts supporting the claim or claims presented could have been
discovered through the exercise of due diligence.

 

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Therefore, movant asks that the Court grant the following relief;

\facate all sentences and schdu|e a new trial

or any other relief to which movant may be entitled.

 
    
 

 

f l i
L\J°,i` ‘\ _:Lr, \ __ f
. l`\ _
Signature of Attorney (1f any) _ ,.:T- _ -_. f _
1 '\ _ 4` _ __ f'i ,` )4"|. |._ _`l`_`- <~ . ( { j{.:~":.§f\ky L` 1 ij_*lr_ ;r,
LH rf\`f\:-_'j é.-;_.; _l jo ‘- f \- vi s ` nl

 

 

l i':ir 'ii /

 

der penalty of perjury that the foregoing is true and correct

l declare (or certify, verify, or state) un

and that this Motion under 28 U.S.C. §
(month, date, year).

Executed (signed) on il idl/lQT`Yi/]f(j'{ j/l lifo/1 (date).
iii ~ at pin a

Bignature of l\dovant

2255 was placed in the prison mailing system on

 

 

 

 

 

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I declare (or certify, verify, or state) under penalty of perjury that l have been notiHed that l must include in this
motion all the grounds for relief from the conviction or sentence that l challenge, and that l must state the facts
that support each ground l also understand that if l fail to set forth all the grounds in this motion, l may be

barred from presenting additional grounds at a later date.

_ , ,_ .ii.`=i" iii
EX€wrP-dcsiewd)@n weather/drew \l'r" leigh

' '”/"
Signature of Movant L v r/»Z?@:{A

If the person signing is not movant, state relationship to movant and explain why movant is not signing this

motion

